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                 UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


MELANIE KILGORE,                         :       Civil No. 1:20-CV-1613
                                         :
                Plaintiff                :
                                         :
     v.                                  :
                                         :
KILOLO KIJAKAZI,                         :       (Magistrate Judge Carlson)
                                      1
Acting Commissioner of Social Security , :
                                         :
                Defendant                :

                                   ORDER


      Accordingly, for the reasons set forth in the accompanying Memorandum

opinion, IT IS ORDERED that the plaintiff’s request for a new administrative

hearing is GRANTED, the final decision of the Commissioner denying this claim is

VACATED, and this case is REMANDED to the Commissioner to conduct a new

administrative hearing pursuant to 42 U.S.C. § 405(g). IT IS FURTHER ORDERED

that final judgment should be entered in favor of the plaintiff and against the

Commissioner of Social Security.

      So ordered this 3d day of December 2021.



1
  Kilolo Kijakazi became the Acting Commissioner of Social Security on
July 9, 2021. Accordingly, pursuant to Rule 25(d) of the Federal Rules of Civil
Procedure and 42 U.S.C. § 405(g) Kilolo Kijakazi is substituted for Andrew
Saul as the defendant in this suit.
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                                 S/Martin C. Carlson
                                 Martin C. Carlson
                                 United States Magistrate Judge
